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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 8:13CR159
                                            )
      vs.                                   )                   ORDER
                                            )
JACQUELINE JACOBS,                          )
                                            )
                    Defendant.              )


      This matter is before the court on the motion of defendant Jacqueline Jacobs (Jacobs)
for an extension of time (Filing No. 82). Jacobs seeks additional time in which to enter a
substance abuse program. Jacobs’ counsel represents that government’s counsel has no
objection to the motion. The motion is granted and Jacobs shall have to November 12,
2013, to enter a substance abuse program.


      IT IS SO ORDERED.


      DATED this 6th day of November, 2013.


                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
